Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 1 of 38 Page ID #:1




 1 JONMARC BUFFA, CA Bar No. 217324
     JEFF LE RICHE, pro hac vice pending
 2
     CLEMON D. ASHLEY, pro hac vice pending
 3   Attorneys for Plaintiff
 4
     COMMODITY FUTURES
     TRADING COMMISSION
 5   2600 Grand Boulevard, Suite 210
 6
     Kansas City, MO 64108
     Telephone: (816) 960-7700
 7   Facsimile: (816) 960-7750
 8
     jbuffa@cftc.gov
     jleriche@cftc.gov
 9   cashley@cftc.gov
10

11                    THE UNITED STATES DISTRICT COURT
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

13

14    COMMODITY FUTURES
15
      TRADING COMMISSION, and
                                                 Civil Action No. 2:22-cv-00691
16    ALABAMA SECURITIES
17
      COMMISSION, ARIZONA
      CORPORATION COMMISSION,                    COMPLAINT FOR INJUNCTIVE
18    ARKANSAS SECURITIES                        RELIEF, CIVIL MONETARY
19
      DEPARTMENT, CALIFORNIA                     PENALTIES, AND OTHER
      DEPARTMENT OF FINANCIAL                    EQUITABLE RELIEF
20    PROTECTION & INNOVATION,
21
      STATE OF CONNECTICUT
      DEPARTMENT OF BANKING,                     DEMAND FOR JURY TRIAL
22    STATE OF FLORIDA, OFFICE
23    OF FINANCIAL REGULATION,
      STATE OF HAWAII,
24    DEPARTMENT OF COMMERCE
25    AND CONSUMER AFFAIRS,
      STATE OF IDAHO,
26    DEPARTMENT OF FINANCE,
27    OFFICE OF SECRETARY OF
      STATE, ILLINOIS SECURITIES
28    DEPARTMENT, INDIANA
                                               -1-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 2 of 38 Page ID #:2




 1    SECURITIES DIVISION,
      KENTUCKY DEPARTMENT OF
 2
      FINANCIAL INSTITUTIONS,
 3    STATE OF MARYLAND EX REL
 4
      MARYLAND SECURITIES
      COMMISSIONER, ATTORNEY
 5    GENERAL DANA NESSEL ON
 6
      BEHALF OF THE PEOPLE OF
      THE STATE OF MICHIGAN,
 7    MISSISSIPPI SECRETARY OF
 8
      STATE, MISSOURI
      COMMISSIONER OF
 9    SECURITIES, NEBRASKA
10    DEPARTMENT OF BANKING &
      FINANCE, NEW MEXICO
11    SECURITIES DIVISION, THE
12    PEOPLE OF THE STATE OF
      NEW YORK BY LETITIA
13    JAMES, ATTORNEY GENERAL
14    OF THE STATE OF NEW YORK,
      NORTH CAROLINA
15    DEPARTMENT OF THE
16    SECRETARY OF STATE,
      OKLAHOMA DEPARTMENT OF
17    SECURITIES, OREGON
18    DEPARTMENT OF CONSUMER
      AND BUSINESS SERVICES,
19    SOUTH CAROLINA ATTORNEY
20    GENERAL, SOUTH DAKOTA
      DEPARTMENT OF LABOR AND
21    REGULATION, COMMISSIONER
22    OF THE TENNESSEE
      DEPARTMENT OF COMMERCE
23    & INSURANCE, VERMONT
24    DEPARTMENT OF FINANCIAL
      REGULATION, WASHINGTON
25    STATE DEPARTMENT OF
26    FINANCIAL INSTITUTIONS, and
      THE STATE OF WISCONSIN,
27

28    Plaintiffs,
                                               -2-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 3 of 38 Page ID #:3




 1               v.
 2    SAFEGUARD METALS LLC and
 3
      JEFFREY SANTULAN a/k/a
      JEFFREY HILL,
 4

 5    Defendants.
 6

 7         Plaintiffs Commodity Futures Trading Commission (“CFTC” or
 8 “Commission”), Alabama Securities Commission (“State of Alabama”), Arizona
 9 Corporation Commission (“State of Arizona”), Arkansas Securities Department

10 (“State of Arkansas”), California Department of Financial Protection & Innovation

11 (“State of California”), State of Connecticut Department of Banking (“State of

12 Connecticut”), State of Florida, Office of Financial Regulation (“State of Florida”),

13 State of Hawaii, Department of Commerce and Consumer Affairs (“State of

14 Hawaii”), Idaho Department of Finance (“State of Idaho”), Office of the Secretary of

15 State, Illinois Securities Department (“State of Illinois”), Indiana Securities Division

16 (“State of Indiana”), Kentucky Department of Financial Institutions

17 (“Commonwealth of Kentucky”), State of Maryland Ex Rel the Maryland Securities

18 Commissioner (“State of Maryland”), Attorney General Dana Nessel on Behalf of the

19 People of the State of Michigan (“People of the State of Michigan”), Mississippi

20 Secretary of State (“State of Mississippi”), Missouri Commissioner of Securities

21 (“State of Missouri”), Nebraska Department of Banking & Finance (“State of

22 Nebraska”), New Mexico Securities Division (“State of New Mexico”), The People

23 of the State of New York by Letitia James, Attorney General of the State of New

24 York (“State of New York”), North Carolina Department of the Secretary of State

25 (“State of North Carolina”), Oklahoma Department of Securities (“State of

26 Oklahoma”), Oregon Department of Business and Consumer Services (“State of

27 Oregon”), South Carolina Attorney General (“State of South Carolina”), South

28 Dakota Department of Labor & Regulation (“State of South Dakota”), Commissioner
                                               -3-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 4 of 38 Page ID #:4




 1 of the Tennessee Department of Commerce and Insurance (“State of Tennessee”),

 2 Vermont Department of Financial Regulation (“State of Vermont”), Washington

 3 State Department of Financial Institutions (“State of Washington”), and the State of

 4 Wisconsin (“State of Wisconsin”) (collectively “the States”), by and through their

 5 undersigned attorneys, hereby allege as follows:

 6                                     I.    SUMMARY
 7         1.    From at least October 2017 and continuing through at least July 2021
 8 (“Relevant Period”), Safeguard Metals LLC (“Safeguard Metals”) and Jeffrey
 9 Santulan a/k/a Jeffrey Hill (“Santulan”) (collectively “Defendants”) have engaged

10 and continue to engage in a scheme to defraud people throughout the United States,

11 including in this District and in each of the States.

12         2.    Defendants fraudulently solicited customers to purchase precious metals,
13 primarily consisting of gold and silver coins, that the company marketed and

14 classified as either bullion, semi-numismatic, and numismatic precious metals

15 (collectively “Precious Metals”).

16         3.    Defendants grossly misrepresented, among other things, the amount of
17 markup the company would charge customers on silver coins that Safeguard Metals

18 claimed possess semi-numismatic and numismatic value (“Silver Coins”).

19 Specifically, from at least October 2017 to January 2021, Safeguard Metals charged

20 customers a markup on Silver Coins that exceeded the maximum possible markup

21 disclosed to customers by almost 50% on average. And from January 2021, after

22 receiving notice of a law enforcement investigation into Safeguard Metals’

23 operations, and after Safeguard Metals modified its customer agreements to reflect

24 that the maximum markup on Silver Coins could be 42% in certain circumstances;

25 Safeguard Metals continued charging customers a markup on Silver Coins that still

26 exceeded the maximum possible markup disclosed to customers by nearly 10% on

27 average.

28
                                               -4-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 5 of 38 Page ID #:5




 1         4.    Safeguard Metals, by and through its sales representatives or other
 2 agents, made other material misrepresentations, half-truths, and omissions to

 3 convince customers to purchase Precious Metals. For example, Safeguard Metals

 4 misrepresented the size, scale, experience, background and history of the firm, its

 5 agents, and representatives. Safeguard Metals also made materially false and

 6 misleading statements to customers about the risk and safety of their traditional

 7 retirement accounts in order to instill fear and convince customers to purchase

 8 Precious Metals.
 9         5.    Central to its scheme to defraud, Safeguard Metals targeted and
10 continues to target and prey on a vulnerable population of mostly elderly or

11 retirement-aged persons with little experience investing in Precious Metals.

12 Safeguard Metals defrauded customers into transferring proceeds from retirement

13 accounts, often consisting of funds from liquidated securities, to self-directed

14 individual retirement accounts (“SDIRAs”) for the purchase of Precious Metals.

15 Safeguard Metals also fraudulently induced some customers to purchase Precious

16 Metals through cash and credit sales (“Cash Accounts”).

17         6.    Safeguard Metals’ customers, particularly customers who purchased
18 Silver Coins, generally and almost immediately suffered substantial losses on their

19 investments due to the fraudulently overpriced Silver Coins. In total, Defendants

20 fraudulently solicited approximately $68 million from more than 450 members of the

21 public to purchase Precious Metals. Of that $68 million, $66 million was derived

22 from purchases of fraudulently priced Silver Coins. And Safeguard Metals charged

23 its customers approximately $26 million dollars in markups on those purchases, as

24 part of Defendants’ fraudulent scheme.

25         7.    To perpetuate the fraud and disguise the nearly immediate and
26 substantial losses suffered by customers, Safeguard Metals also attempted to conceal

27 its fraud and lull its customers by, among other things, making additional

28 misrepresentations about the value of the customers’ Precious Metals accounts.
                                               -5-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 6 of 38 Page ID #:6




 1         8.     Defendants knowingly or recklessly misled customers into purchasing
 2 Precious Metals, knew or recklessly disregarded that most customers significantly

 3 overpaid for Silver Coins, and knew or recklessly disregarded that representations

 4 about customer account values were false.

 5         9.     The acts, misrepresentations, omissions, and failures of Santulan and
 6 other officers, employees, and agents acting for Safeguard Metals occurred within the

 7 scope of their employment, agency, or office with Safeguard Metals. Safeguard

 8 Metals is therefore liable under Section 2(a)(1)(B) of the Commodity Exchange Act
 9 (“CEA”), 7 U.S.C. § 2(a)(1)(B), and CFTC Regulation 1.2, 17 C.F.R. § 1.2 (2021), as

10 a principal for Santulan’s violations of the CEA and CFTC Regulations.

11         10.    By virtue of this conduct, and as more fully set forth below, Defendants
12 have engaged, are engaging, and/or are about to engage in, either intentionally or

13 recklessly, violations of the anti-fraud provisions of the CEA, Section 6(c)(1) of the

14 CEA, 7 U.S.C. § 9(1), and CFTC Regulation 180.1(a)(1)-(3), 17 C.F.R.

15 § 180.1(a)(1)-(3) (2021).

16         11.    Accordingly, pursuant to Sections 6c and 6d(1) of the CEA, 7 U.S.C.
17 §§ 13a-1, 13a-2(1), the CFTC and States bring this action to enjoin Defendants’

18 unlawful acts and practices, to compel their compliance with the CEA and CFTC

19 Regulations, and to enjoin them from engaging in any commodity-related activity, as

20 set forth below. Plaintiffs also seek civil monetary penalties and remedial ancillary

21 relief, including, but not limited to, restitution, disgorgement, rescission, pre- and

22 post-judgment interest, and such other relief as the Court may deem necessary and

23 appropriate.

24                          II.   JURISDICTION AND VENUE
25         12.    This Court has subject matter jurisdiction over this action under 28
26 U.S.C. § 1331 (federal question jurisdiction) and 28 U.S.C. § 1345 (district courts

27 have original jurisdiction over civil actions commenced by the United States or by

28 any agency expressly authorized to sue by Act of Congress). Section 6c(a) of the
                                               -6-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 7 of 38 Page ID #:7




 1 CEA, 7 U.S.C. § 13a-1(a), authorizes the CFTC to seek injunctive and other relief

 2 against any person whenever it appears to the CFTC that such person has engaged, is

 3 engaging, or is about to engage in any act or practice constituting a violation of any

 4 provision of the CEA or any rule, regulation, or order thereunder.

 5         13.    Section 6d(1) of the CEA, 7 U.S.C. § 13a-2(1), authorizes the States to
 6 bring a suit in the district courts of the United States to seek injunctive and other

 7 relief against any person whenever it appears to the Attorney General and/or

 8 Securities Administrator of a State, or such other official that a State may designate,
 9 that the interests of the residents of the State have been, are being, or may be

10 threatened or adversely affected because of violations of the CEA or CFTC

11 Regulations.

12         14.    Venue lies properly in this District pursuant to Section 6c(e) of the CEA,
13 7 U.S.C. § 13a-1(e), because Defendants transacted business in this District, and

14 certain transactions, acts, practices, and courses of business in violation of the CEA

15 and CFTC Regulations occurred, are occurring, or are about to occur within this

16 District, among other places.

17                                  III.   THE PARTIES
18         A.     PLAINTIFFS
19         15.    Plaintiff Commodity Futures Trading Commission is an independent
20 federal regulatory agency charged by Congress with the administration and

21 enforcement of the CEA and CFTC Regulations promulgated thereunder. The CFTC

22 maintains its principal office at Three Lafayette Centre, 1155 21st Street NW,

23 Washington, D.C. 20581.

24         16.    Plaintiff State of Alabama, State of Arizona, State of Arkansas, State of
25 California, State of Connecticut, State of Florida, State of Hawaii, State of Idaho,

26 State of Illinois, State of Indiana, Commonwealth of Kentucky, State of Maryland,

27 People of the State of Michigan, State of Mississippi, State of Missouri, State of

28 Nebraska, State of New Mexico, State of New York, State of North Carolina, State of
                                               -7-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 8 of 38 Page ID #:8




 1 Oklahoma, State of Oregon, State of South Carolina, State of South Dakota, State of

 2 Tennessee, State of Vermont, State of Washington, State of Wisconsin are authorized

 3 under Section 6d(1) of the CEA, 7 U.S.C. § 13a-2(1), and their respective State laws,

 4 to bring this action on behalf of their State and their citizens to enforce the CEA and

 5 CFTC Regulations.

 6         B.    DEFENDANTS
 7         17.   Defendant Safeguard Metals LLC initially registered as a Wyoming
 8 limited liability company on October 13, 2017, with its principal office located at 30
 9 N Gould St., Suite R, Sheridan, Wyoming. Subsequently, on March 26, 2019,

10 Safeguard Metals registered as a California limited liability company with its

11 principal place of business located at 21550 Oxnard St., 3rd Floor, Woodland Hills,

12 California. Safeguard Metals has never been registered with the Commission in any

13 capacity.

14         18.   Defendant Jeffrey Santulan a/k/a Jeffrey Hill is the sole owner and
15 sole manager of Safeguard Metals LLC. Santulan is the only signatory on Safeguard

16 Metals’ bank accounts. During the Relevant Period, Santulan owned and controlled

17 Safeguard Metals, supervised (directly and indirectly) its employees and agents, and

18 made hiring and firing decisions on behalf of the company. A resident of Tarzana,

19 California, Santulan has never been registered with the Commission in any capacity.

20                                      IV.    FACTS
21 A.      Safeguard Metals’ Operations
22         19.    Safeguard Metals is a company that marketed, promoted, and sold
23 Precious Metals, including, but not limited to, Silver Coins. The firm placed

24 advertisements on financial media and websites, and promoted its products on social

25 media platforms and websites linked to media personalities and financial gurus.

26 Safeguard Metals also marketed and promoted Precious Metals through its company

27 website, https://www.safeguardmetals.com/.

28
                                               -8-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 9 of 38 Page ID #:9




 1         20.    Safeguard Metals used the advertisements, social media platforms, and
 2 websites to generate leads, which resulted in solicitations by telephone to potential

 3 customers.

 4         21.    Safeguard Metals operated a call center located in Woodland Hills,
 5 California, staffed by sales representatives known as “Openers” and “Closers.”

 6 Safeguard Metals distributed lists of potential customers to Openers and Closers

 7 which permitted the sales representatives to contact potential customers by telephone.

 8 Using the leads, Openers marketed and promoted Precious Metals to potential
 9 customers. Once an Opener confirmed a potential customer’s interest in purchasing

10 Precious Metals, the potential customer was transferred over to the Closer, and the

11 Closer executed the sale of Precious Metals with the customer.

12         22.    Safeguard Metals operated as an intermediary, essentially controlling all
13 buy and sell aspects of customer transactions to maximize its profits. Safeguard

14 Metals, by and through its sales representatives or other agents, recommended

15 customers form SDIRA accounts and that customers hold Precious Metals at a

16 depository instead of taking delivery of the metals themselves. Safeguard Metals told

17 customers storing Precious Metals in a depository was the safest way to store the

18 precious metals and economically better because the depository was purportedly

19 federally insured.

20         23.    In reality, these representations served as a way for Safeguard Metals to
21 control the transaction. Once a customer opened a SDIRA account, often through a

22 custodian and depository recommended by Safeguard Metals, Safeguard Metals was

23 initially the only party authorized to buy or sell Precious Metals in customer SDIRAs.

24 Unless a customer knew to remove Safeguard Metals as the designated representative

25 on their SDIRA account, the customer could not liquidate their Precious Metals

26 holdings without going through the very firm that defrauded them to unwind their

27 investments.

28
                                               -9-
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 10 of 38 Page ID #:10




 1         24.   Safeguard Metals’ core strategy for profitability was to charge an
 2 exorbitant markup on sales of Precious Metals, and in particular, on Silver Coins to

 3 customers. Safeguard Metals purchased Precious Metals from a wholesale

 4 distributor, and generated nearly all of its profits through what it represented, though

 5 falsely, to customers as “operating margins”—the difference between Safeguard

 6 Metals’ cost of acquiring Precious Metals from a wholesale distributer and the prices

 7 paid by customers, i.e., markup.

 8         25.   To benefit its own self-interest, Safeguard Metals directed the vast
 9 majority of SDIRA funds into coins that Safeguard Metals typically marked up

10 excessively, notwithstanding the customer’s individual investment needs. Safeguard

11 Metals accomplished this by pressuring customers to purchase coins that it claimed

12 had numismatic or semi-numismatic value.

13         26.   Numismatic precious metals are rare, of limited availability, and have
14 significant broad-based market demand and so have a value substantially more than

15 the prevailing market price of the precious metal contained in the bullion. Semi-

16 numismatic precious metals refers to bullion that are claimed to exhibit both bullion

17 and numismatic traits, such that the value is derived from the precious metal content,

18 limited circulation, and some recognized exclusive or collectible value.

19         27.   Safeguard Metals offered coins with purported semi-numismatic or
20 numismatic value in addition to the bullion value and coins with only bullion value.

21 In particular, the Silver Coin known as the 1.25 oz Silver Rose Crown Guinea was

22 the individual coin most frequently sold to customers. Safeguard Metals claimed the

23 Silver Coins it sold to customers, including the 1.25 oz Silver Rose Crown Guinea,

24 had semi-numismatic or numismatic value and sold them to customers at a premium

25 far above Safeguard Metals’ acquisition cost and the melt value of the bullion.

26         28.   In regards to gold coins, Safeguard Metals, by and through its sales
27 representatives or other agents, most frequently sold the 0.1 oz Gold American Eagle

28 to customers. Contrary to Silver Coins, which Safeguard Metals claimed to have
                                              - 10 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 11 of 38 Page ID #:11




 1 semi-numismatic or numismatic value, most gold coins were sold as common bullion

 2 products that lacked external value above and beyond the melt value of the bullion.

 3          29.   Consequently, Safeguard Metals pressured customers to purchase Silver
 4 Coins and sold vastly more Silver Coins to customers than gold coins.

 5 Approximately 97%, or $66 million of the $68 million in total revenue Safeguard

 6 Metals fraudulently solicited from customers was used to purchase Silver Coins.

 7          30.   Safeguard Metals also levied transaction fees to liquidate the Precious
 8 Metals held in SDIRA accounts. So after fraudulently overcharging customers on the
 9 front end when the Precious Metals transaction was executed, Safeguard Metals also

10 imposed storage fees and a 1% to 3% liquidation fee upon the sale of Precious Metals

11 within SDIRA accounts, significantly contributing to customers’ overall transaction

12 costs.

13 B.       Defendants Defrauded Mostly Elderly Customers into Establishing
            SDIRAs and Cash Accounts to Purchase Precious Metals.
14

15          31.   Defendants targeted a vulnerable population of mostly elderly or
16 retirement-aged persons. Many of these individuals had little experience investing in

17 Precious Metals. Nonetheless, Defendants fraudulently solicited them to open

18 SDIRAs or Cash Accounts in order to purchase Precious Metals.

19          32.   Defendants instructed their sales representatives or other agents to
20 concentrate their fraudulent solicitations on elderly or retirement-aged persons in

21 order to gain access to their retirement savings, including but not limited to, money

22 market accounts and retirement savings held in tax advantaged accounts such as:

23 Individual Retirement Accounts; employer sponsored 401(k) and 457(b) plans; Thrift

24 Savings Plans; annuities; and other long-term retirement savings vehicles (“Qualified

25 Retirement Savings”).

26          33.   As part of the scheme to gain access to customers’ retirement accounts
27 and other savings, Defendants published misinformation on Safeguard Metals’

28 website in 2019 and 2020. Defendants made numerous false and misleading
                                              - 11 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 12 of 38 Page ID #:12




 1 statements of material fact, omitted to state material facts necessary to make the

 2 statements made not untrue or misleading, or made statements in reckless disregard

 3 about the firm’s business activities on their website, including, but not limited to, the

 4 following:

 5               a.     Safeguard Metals is rated number one among wealth protection
                        firms (with no basis for this assertion);
 6
                 b.     Safeguard Metals oversees more than $11 billion in assets under
 7                      its management (when, in reality, the firm has sold substantially
                        less than $75 million in Precious Metals and Silver Coins since it
 8                      has been in business);
 9               c.     Safeguard Metals has been in business for more than twenty years
                        (when, in truth, the startup formed in 2017, but did not appear to
10                      have significant operations until 2019);
11               d.     the number and location of Safeguard Metals’ offices, including
                        office locations in London, England and Beverly Hills, California
12                      (when in actuality, the firm only has offices in Woodland Hills,
                        California); and
13
                 e.     the use of false and fictitious employee names, touting non-
14                      existent employees on LinkedIn, misrepresenting employee job
                        titles, and exaggerating employee qualifications and years of
15                      industry experience.
16         34.   Defendants admitted the foregoing statements and blatant website
17 misrepresentations are false.

18         35.   Based on information and belief, Defendants removed the foregoing
19 statements and blatant website misrepresentations in or about January 2021 after

20 becoming informed of a law enforcement investigation, and began to rely on other

21 more nuanced misrepresentations, half-truths and omissions as part their solicitation

22 scheme, as discussed further below.

23         36.   Safeguard Metals utilized fraudulent solicitations designed to build trust
24 with customers based on representations of political affinity, and through references

25 to and statements from financial gurus.

26         37.   In furtherance of the scheme, Santulan personally solicited customers,
27 misrepresenting that Safeguard Metals was “the #1 name in precious metals and lead

28 the industry as the fastest growing house, offering the cheapest and purest bullion in
                                              - 12 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 13 of 38 Page ID #:13




 1 the country for the benefit of our clients and we hold all proper and full accreditation

 2 from the state, federal government, and distributors alike,” with no basis for these

 3 material misstatements, half-truths or omissions, and in reckless disregard for the

 4 truth. Santulan also created sales scripts that were used to solicit customers.

 5         38.   Defendants instructed its sales representatives or other agents to employ
 6 fraudulent solicitations designed to instill fear in elderly and retirement aged

 7 investors and other customers. To frighten those customers about the risk and safety

 8 of their investments in Qualified Retirement Savings and traditional accounts,
 9 Safeguard Metals made repeated material misrepresentations, half-truths, and

10 omissions regarding the Money Market Fund Reform regulation promulgated by the

11 Securities and Exchange Commission, Money Market Fund Reform Amendments to

12 Form PF, 70 Fed. Reg. 47,736 (Aug. 14, 2014), and more recently, the Orderly

13 Liquidation Authority promulgated pursuant to Dodd Frank, 12 U.S.C. §§ 5381-5394.

14 Safeguard Metals played on the customers’ fears and materially misrepresented these

15 provisions, omitting to disclose which asset classes the Money Market Fund Reform

16 applies to, and making false and misleading statements about each law’s or

17 regulation’s effects, and the extent to which these and other investor protections

18 applied. For example, during fraudulent solicitations over the telephone, via email

19 and in its sales scripts, Safeguard Metals made the following misrepresentations:

20               a.     financial institutions can “freeze you out of your retirement
                        accounts if there was ever a market crash or correction again,” and
21
                        either “confiscate” or freeze all of the holdings in your retirement
22                      or investment accounts, particularly during either a liquidity or
                        financial crisis. “Banks then will use people’s money to bail
23
                        themselves out.”;
24
                 b.     an investor is “just a beneficial owner” and “leases” securities and
25
                        funds held in Qualified Retirement Savings, and further, the
26                      government “owns” the certificates on securities and funds held in
                        these accounts; and
27

28
                                              - 13 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 14 of 38 Page ID #:14




 1                c.    “you’re pretty much in these [Quality Retirement Savings]
                        accounts with no types of insurance,” but “the good news is that
 2
                        there are loopholes within the law to help protect . . . from it”
 3                      through safe and conservative investments in Precious Metals
                        through SDIRAs.
 4

 5         39.    Defendants misrepresented that the Money Market Fund Reform and/or
 6 the Orderly Liquidation Authority regulations apply to stocks and certain bonds held

 7 in Qualified Retirement Savings. They do not.

 8         40.    Safeguard Metals misrepresented that the government, not the investor,
 9 owns the certificates on securities and funds held in a Qualified Retirement Savings

10 account. This is false. The beneficial owner is the true owner of an asset or security

11 that is under a different legal name and the government does not own the certificates

12 on securities and funds held in these accounts.

13         41.    Safeguard Metals misrepresented that Qualified Retirement Savings are
14 uninsured. In reality, investor protections and insurance are offered through the

15 Federal Deposit Insurance Corporation and the Securities Investor Protection

16 Corporation.

17         42.    In 2021, Safeguard Metals misrepresented to customers that a change to
18 Rule 22e-3 under the Money Market Fund Reform permits financial institutions to

19 permanently freeze the liquidity in accounts, confiscate funds and will never pay

20 participants back if the market fails. Furthermore, Safeguard Metals has maintained

21 the goal of investment firms is “to stop you from being able to redeem your shares, or

22 redeem the funds that you have in your retirement and stock accounts, by any means

23 necessary.”

24         43.    These and similar misrepresentations made by Safeguard Metals and/or
25 Santulan are false and misleading because Defendants failed to disclose to customers

26 the narrow circumstances in which a money market fund can be permanently

27 suspended, and furthermore, that liquidation follows when redemptions are

28
                                              - 14 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 15 of 38 Page ID #:15




 1 permanently suspended thereby returning money to shareholders and allowing

 2 investors to recover funds.

 3         44.   Defendants knew, or were reckless in not knowing, that their
 4 communications with customers contained material misstatements, half-truths, and

 5 omissions described above.

 6 C.      Safeguard Metals Charged Exorbitant Price Markups on Silver Coins
           That Bore No Relation to the Ranges Represented to Customers.
 7

 8         45.   After the SDIRAs and Cash Accounts were opened under false and
 9 fraudulent pretenses, Defendants executed their core strategy of selling customers

10 overpriced Silver Coins with enormous price markups, which Defendants referred to

11 as “operating margins” when they communicated about the price markups with

12 customers. Safeguard Metals grossly misrepresented the “operating margins” that

13 they would charge customers in Precious Metals Shipping and Account Agreements

14 (“Customer Agreements”) and representations made during sales confirmation calls.

15         46.   The Customer Agreements purported to establish the terms and
16 conditions regarding sales of Precious Metals by Defendants to their customers.

17 During the Relevant Period, Safeguard Metals used at least two versions of the

18 Customer Agreements – one version prior to January 2021, and subsequently, a

19 revised version following purported attempts to implement compliance measures at

20 Safeguard Metals. Based on information and belief, Safeguard Metals purportedly

21 implemented those compliance measures beginning in or around January 2021 after

22 receiving notice of an investigation by law enforcement.

23         47.   Prior to January 2021, Safeguard Metals’ Customer Agreements
24 represented, in pertinent part, the following relating to Safeguard Metals’ “operating

25 margins” on metals:

26               a.     “The operating margin is the difference between Safeguard’s
27
                        approximate acquiring cost of the Precious Metals and the price
                        the Client pays.”
28
                                              - 15 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 16 of 38 Page ID #:16




 1
                 b.     “Safeguard’s operating margin quoted to the Client for most
                        common bullion products . . . is typically four percent (4%) for
 2                      cash, and seven percent (7%) for IRA purchases.”
 3
                 c.     “Operating margin on coins with semi-numismatic or numismatic
 4                      value are rare coins . . . is usually twenty percent (20%) and for
 5                      Proof products is twenty-three percent (23%).”

 6         48.   Despite these representations, Safeguard Metals actually sold Silver
 7 Coins to customers at average “operating margins” of 71%. This vastly exceeded the

 8 maximum “operating margin” of 23% disclosed in Safeguard Metals’ Customer
 9 Agreement. These overcharges were material misrepresentations and omissions.

10 Further, Santulan admitted to establishing the price of these exorbitantly priced

11 Precious Metals during Safeguard Metals’ initial period of operation.

12         49.   During purported implementation of compliance measures in or about
13 January 2021, Safeguard Metals revised its sales confirmation scripts, and its

14 Customer Agreements to provide new representations about its “operating margins”

15 for Precious Metals. While Safeguard Metals’ representations about its “operating

16 margins” varied between the sales confirmation scripts and Customer Agreements,

17 the actual “operating margins” charged by the firm far exceeded either representation.

18         50.   After January 2021, Safeguard Metals represented the following
19 “operating margins” to customers during sales confirmation calls:

20               SAFEGUARD METAL’S OPERATING MARGIN IS
                 USUALLY 1% - 23%[.] THIS MAY VARY AND
21               EXCEED 40% BASED ON MARKET CONDITIONS.
22         51.   After January 2021, Safeguard Metals’ Customer Agreements
23 represented to customers the following relating to “operating margins”:

24               Current operating margins on coins with semi-numismatic
                 or numismatic value . . . is usually 23% - 33%. . . . The
25               actual operating margin on any particular transaction can be
                 any amount usually within, but also could be outside this
26               range, but not exceeding 42%.
27         52.   Following the purported implementation of compliance measures in
28 January 2021, Safeguard Metals’ actual “operating margin” on Silver Coins routinely
                                              - 16 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 17 of 38 Page ID #:17




 1 exceeded 40%, and averaged about 51%. Consequently, despite the inconsistent

 2 disclosures between sales confirmations and Customer Agreements, the “operating

 3 margin” on Silver Coins represented in sales confirmations rarely, if ever, fell within

 4 the usual and customary ranges disclosed to customers and averaged greater than the

 5 maximum “operating margin” represented in Customer Agreements. These

 6 overcharges were material misrepresentations and omissions.

 7         53.   Safeguard Metals also provided inconsistent and misleading disclosures
 8 to customers during the sales confirmation process. In at least one instance, an
 9 Opener falsely represented to at least one customer that the specified “operating

10 margins” only applied to investments exceeding $1 million, and were therefore

11 inapplicable to his transaction because his investment fell under that threshold. Later,

12 in contrast, a Closer stated during the sales confirmation call that specified “operating

13 margins” do in fact apply because the customer is an accredited investor, resulting in

14 ambiguous and conflicting disclosures.

15         54.   Safeguard Metals’ core strategy of selling fraudulently overpriced Silver
16 Coins to customers was designed to maximize its profits through “operating margins”

17 and commissions and resulted in substantial and nearly immediate customer losses.

18 In excess of 97%, or $66 million of the $68 million in total revenue fraudulently

19 solicited from customers was used to purchase Silver Coins, which had significantly

20 higher “operating margins” compared to gold coins.

21         55.   Safeguard Metals knowingly or recklessly failed to inform customers of
22 the material fact that the exorbitant “operating margins” charged on Silver Coins bore

23 no relation to the figures represented in the Customer Agreements, or otherwise

24 stated to customers. This had the effect of substantially depleting the values of

25 investments held in customers’ SDIRAs and Cash Accounts. Nonetheless, Safeguard

26 Metals continued to misrepresent to prospective and current SDIRA and Cash

27 Account customers that Precious Metals were a safe and conservative investment

28
                                              - 17 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 18 of 38 Page ID #:18




 1 even though customers suffered immediate loss on the purchase of Precious Metals

 2 from Safeguard Metals.

 3 D.   Safeguard Metals Misrepresented to Customers How It Earned Profits
   and Lulled Customers by Making Misrepresentations About the Value of
 4
   Customers’ Precious Metals.
 5

 6         56.     As part of the scheme, Safeguard Metals misrepresented and omitted
 7 material facts regarding how Safeguard Metals earned profits from Precious Metals

 8 transactions.
 9         57.     During telephone sales calls, Safeguard Metals repeatedly misstated that
10 its earnings arose solely from a 1% fee, and later in 2021, a 1% to 3% fee, that

11 applied only when customers liquidated investments in Precious Metals. During a

12 sales solicitation call with a prospective customer, a Safeguard Metals employee

13 stated, in pertinent part, that “We take 1 percent of what we liquidate . . . . It’s our

14 only way we make money,” leaving customers with the impression that Safeguard

15 Metals did not profit in other respects from their Precious Metals transactions.

16         58.     In reality, and as discussed above, Safeguard Metals also made money
17 from charging excessive premiums on Silver Coins. For instance, Safeguard Metals

18 earned an estimated 71% “operating margin” on Silver Coins during the 2019 to 2020

19 timeframe—about 48% more than the maximum permitted pursuant to the Customer

20 Agreement. In 2021, Safeguard Metals earned an estimated 51% “operating margin”

21 on Silver Coins, about 9% more than the maximum permitted pursuant to the revised

22 Customer Agreement.

23         59.     Safeguard Metals also falsely asserted “[i]f our clients are making
24 money, that’s when we make money.” In fact, Safeguard Metals made money on

25 Precious Metals notwithstanding whether its customers made money, and customers

26 incurred additional transactional costs far greater than a 1% to 3% liquidation fee.

27 Safeguard Metals omitted the true and accurate transaction costs and “operating

28 margins” even when customers specifically inquired.
                                              - 18 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 19 of 38 Page ID #:19




 1         60.   As part of the scheme to defraud, Safeguard Metals also deceived
 2 customers and concealed its fraud by hiding that customers significantly overpaid for

 3 their investments. Instead, Safeguard Metals made further misrepresentations about

 4 the value of the Precious Metals in customer accounts to placate and calm investors

 5 who were upset about the losses shown on their SDIRA statements.

 6         61.   Customers received account statements from their SDIRA custodians
 7 showing account values significantly below the values originally paid to Safeguard

 8 Metals. The account statements were significantly lower because the SDIRA
 9 custodians assigned asset values to the coins held based on the melt value of the coin,

10 ignoring any purported numismatic or semi-numismatic value. When customers

11 confronted Safeguard Metals’ sales representatives about the disparity between their

12 original investment and the value assigned by SDIRA custodians, the sales

13 representatives rejected lower valuations and misrepresented to customers that values

14 did not accurately reflect the resale value of the Precious Metals and Silver Coins,

15 and that the actual resale value of their investments were much higher than that

16 reported by the SDIRA custodians. (“Post-Purchase Misrepresentations”).

17         62.   Safeguard Metals, however, knew or recklessly disregarded that the
18 resale price of the Silver Coins that it marketed and promoted was much lower than

19 the amount customers paid for the Silver Coins.

20         63.   To further obfuscate customers’ true account values, Safeguard Metals
21 also lulled customers by telling them to wait or give it at least six months, or in some

22 instances, three to five years, to allow their SDIRA accounts to make money.

23         64.   Due to the acts, omissions, and failures of Safeguard Metals, at least two
24 SDIRA custodians terminated their business relationships with Safeguard Metals and

25 no longer conduct business with the company.

26         65.   In terminating its contract with Safeguard Metals, one custodian stated,
27 in pertinent part, that:

28
                                              - 19 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 20 of 38 Page ID #:20




 1
                 It has come to our attention that certain trades made in
                 accounts represented by Safeguard Metals appear to not be
 2               in the best interest of the IRA owner as the values of the
 3               accounts were significantly less after the trade activity than
                 the values of the accounts prior to the trades.
 4

 5 D.      Santulan Controlled the Operations of Safeguard Metals and Is Therefore
 6
           Liable for Its Actions.

 7         66.   During the Relevant Period, Santulan was the controlling person of
 8 Safeguard Metals and held 100% ownership of the company.
 9         67.   Santulan was the sole member of the limited liability company, and no
10 one else has ever served as a member. He executed the limited liability company

11 registration using the title of “Principal.”

12         68.   As the controlling person, Santulan made all significant business
13 decisions on behalf of Safeguard Metals, and was authorized to make personnel

14 decisions about hiring and firing of employees. Prior to October 2020, Santulan

15 created sales scripts and email templates and distributed customer leads and provided

16 training to sales representatives at Safeguard Metals. Santulan determined and set the

17 prices at which Safeguard Metals sold Precious Metals and Silver Coins to the public.

18         69.    For the entirety of the Relevant Period, Santulan was the only signatory
19 on Safeguard Metals’ bank accounts and served as the only person authorized to enter

20 into financial transactions on behalf of the company.

21         70.   Santulan did not act in good faith or has knowingly induced Safeguard
22 Metals’ fraudulent acts.

23

24

25

26

27

28
                                              - 20 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 21 of 38 Page ID #:21




 1       V.      VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND
                            COMMISSION REGULATIONS
 2

 3                                         COUNT I
 4                                          Fraud
 5    Violations of Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), and CFTC Regulation
                     180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2021)
 6

 7                                 (Brought by all Plaintiffs)
 8         71.    Paragraphs 1 through 70 are realleged and incorporated herein by
 9 reference.

10         72.    7 U.S.C. § 9(1) provides, in relevant part:
11                      It shall be unlawful for any person, directly or indirectly, to use or
12
                        employ, or attempt to use or employ, in connection with any swap,
                        or a contract of sale of any commodity in interstate commerce, or
13                      for future delivery on or subject to the rules of any registered
14
                        entity, any manipulative or deceptive device or contrivance, in
                        contravention of such rules and regulations as the commission
15                      shall promulgate . . . .
16         73.    17 C.F.R § 180.1(a) provides, in relevant part:
17
                        It shall be unlawful for any person, directly or indirectly, in
18                      connection with any swap, or contract of sale of any commodity in
19                      interstate commerce, or contract for future delivery on or subject
                        to the rules of any registered entity, to intentionally or recklessly:
20

21                      (1) Use or employ, or attempt to use or employ, any manipulative
                        device, scheme, or artifice to defraud;
22

23                      (2) Make, or attempt to make, any untrue or misleading statement
                        of a material fact or to omit to state a material fact necessary in
24                      order to make the statements made not untrue or misleading; [or]
25
                        (3) Engage, or attempt to engage, in any act, practice, or course of
26                      business, which operates or would operate as a fraud or deceit
27                      upon any person . . . .

28
                                              - 21 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 22 of 38 Page ID #:22




 1         74.    By reason of the conduct described above, Defendants, by and through
 2 Santulan, its officers, employees and agents, directly or indirectly, in connection with

 3 contracts of sale of commodities in interstate commerce, intentionally or recklessly

 4 violated 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

 5         75.    By reason of the conduct described above, the acts, misrepresentations,
 6 omissions, and failures of Santulan and other officers, employees, and agents acting

 7 for Safeguard Metals occurred within the scope of their employment, agency, or

 8 office with Safeguard Metals. Safeguard Metals is therefore liable under Section
 9 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and CFTC Regulation 1.2, 17 C.F.R.

10 § 1.2 (2021), as a principal for Santulan’s violations of the CEA and CFTC

11 Regulations.

12         76.    Santulan controlled Safeguard Metals and has not acted in good faith or
13 has knowingly induced, directly or indirectly, the acts constituting Safeguard Metals’

14 violations alleged in this count. As a result, pursuant to Section 13(b) of the CEA,

15 7 U.S.C. § 13c(b), Santulan is liable for Safeguard Metals’ violations of 7 U.S.C.

16 § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3), as controlling person.

17         77.    Each use or employment or attempted use or employment of any
18 manipulative device, scheme, or artifice to defraud; untrue or misleading statement of

19 fact, omission of material fact necessary to make statements not untrue or misleading;

20 or act of engaging, or attempting to engage, in acts, practices or courses of business

21 that operated or would have operated as a fraud or deceit on Safeguard Metals’

22 customers is alleged as a separate and distinct violation of 7 U.S.C. § 9(1) and

23 17 C.F.R. § 180.1(a)(1)-(3)

24                              VI.   RELIEF REQUESTED
25         78.    The CFTC and the States respectfully request that this Court, as
26 authorized by Sections 6c and 6d(1) of the CEA, 7 U.S.C. §§ 13a-1, 13a-2(1) and

27 pursuant to its own equitable powers:

28         A.     Find that Defendants violated Section 6(c)(1) of the CEA, 7 U.S.C.
                                              - 22 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 23 of 38 Page ID #:23




 1               § 9(1), and CFTC Regulation 180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-
 2               (3) (2021);
 3         B.    Enter an order of permanent injunction enjoining Defendants and their
 4               affiliates, agents, servants, employees, successors, assigns, attorneys,
 5               and all persons in active concert with them, who receive actual notice of
 6               such order by personal service or otherwise, from engaging in the
 7               conduct described above, in violation of 7 U.S.C. § 9(1) and 17 C.F.R.
 8               § 180.1(a)(1)-(3);
 9         C.    Enter an order of permanent injunction restraining and enjoining
10               Defendants and their affiliates, agents, servants, employees, successors,
11               assigns, attorneys, and all persons in active concert with them, from
12               directly or indirectly:
13               1)     Trading on or subject to the rules of any registered entity (as that
14                      term is defined by Section 1a(40) of the CEA, 7 U.S.C. § 1a(40));
15               2)     Entering into any transactions involving “commodity interests”
16                      (as that term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2021)),
17                      for accounts held in the name of any Defendant or for accounts in
18                      which any Defendant has a direct or indirect interest;
19               3)     Having any commodity interests traded on any Defendants’
20                      behalf;
21               4)     Controlling or directing the trading for or on behalf of any other
22                      person or entity, whether by power of attorney or otherwise, in
23                      any account involving commodity interests;
24               5)     Soliciting, receiving, or accepting any funds from any person for
25                      the purpose of purchasing or selling of any commodity interests;
26               6)     Applying for registration or claiming exemption from registration
27                      with the CFTC in any capacity, and engaging in any activity
28                      requiring such registration or exemption from registration with the
                                              - 23 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 24 of 38 Page ID #:24




 1                      CFTC except as provided for in CFTC Regulation 4.14(a)(9),
 2                      17 C.F.R. § 4.14(a)(9) (2021);
 3               7)     Acting as a principal (as that term is defined in CFTC Regulation
 4                      3.1(a), 17 C.F.R. § 3.1(a) (2021)), agent, or any other officer or
 5                      employee of any person registered, exempted from registration, or
 6                      required to be registered with the CFTC except as provided for in
 7                      17 C.F.R. § 4.14(a)(9).
 8         D.    Enter an order directing Defendants as well as any third-party transferee
 9               and/or successors thereof, to disgorge, pursuant to such procedure as the
10               Court may order, all benefits received including, but not limited to,
11               salaries, commissions, loans, fees, revenues, and trading profits derived,
12               directly or indirectly, from acts or practices that constitute violations of
13               the CEA or CFTC Regulations, as described herein, including pre-
14               judgment and post-judgment interest;
15         E.    Enter an order requiring Defendants, as well as any successors thereof,
16               to make full restitution to every person who has sustained losses
17               proximately caused by the violations described herein, including pre-
18               judgment and post-judgment interest;
19         F.    Enter an order directing Defendants to rescind, pursuant to such
20               procedures as the Court may order, all contracts and agreements,
21               whether implied or express, entered into between Defendants and any of
22               the customers whose funds were received by Defendants as a result of
23               Defendants’ violations of the CEA or CFTC Regulations as described
24               herein;
25         G.    Enter an order directing Defendants to pay a civil monetary penalty
26               assessed by the Court, in an amount not to exceed the penalty prescribed
27               by Section 6c(d)(1) of the CEA, 7 U.S.C. § 13a-1(d)(1), as adjusted for
28               inflation pursuant to the Federal Civil Penalties Inflation Adjustment Act
                                              - 24 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 25 of 38 Page ID #:25




 1               Improvements Act of 2015, Pub. L. 114-74, tit. VII, § 701, 129 Stat.
 2               584, 599-600, see Regulation 143.8, 17 C.F.R. § 143.8 (2021), for each
 3               violation of the CEA or CFTC Regulations, described herein;
 4         H.    Enter an order requiring Defendants to pay costs and fees as permitted
 5               by 28 U.S.C. §§ 1920 and 2413(a)(2); and
 6         I.    Enter an order providing such other and further relief as the Court deems
 7               proper.
 8                            VII. DEMAND FOR JURY TRIAL
 9         79.   Plaintiffs hereby demand a jury trial.
10

11         I hereby attest that all other signatories listed, and on whose behalf the filing is
12 submitted, concur in the filing’s content and have authorized the filing.

13

14         Dated: February 1, 2022           Respectfully submitted,
15
                                             COMMODITY FUTURES
16                                           TRADING COMMISSION
17
                                             By: /s/ JonMarc Buffa
18

19                                           JONMARC BUFFA
                                             California Bar No. 217324
20                                           jbuffa@cftc.gov
21
                                             JEFF LE RICHE, pro hac vice pending
22                                           (Attorney-In-Charge)
23                                           Missouri Bar No. 46557
                                             jleriche@cftc.gov
24

25                                           CLEMON D. ASHLEY, pro hac vice pending
                                             Illinois Bar No. 6294839
26                                           cashley@cftc.gov
27
                                             Attorneys for Plaintiff
28                                           COMMODITY FUTURES
                                              - 25 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 26 of 38 Page ID #:26




 1
                                           TRADING COMMISSION
                                           2600 Grand Boulevard, Suite 210
 2                                         Kansas City, Missouri 64108
 3                                         Telephone: (816) 960-7700
                                           Facsimile: (816) 960-7750
 4
                                           FOR THE STATE OF ALABAMA
 5

 6                                         By: /s/ Stephen P. Feaga
 7
                                           STEPHEN P. FEAGA, pro hac vice pending
 8                                         Assistant Attorney General
                                           Alabama Bar No. 7374A60S
 9
                                           Steve.Feaga@asc.alabama.gov
10
                                           ANNE W. GUNTER, pro hac vice pending
11
                                           Assistant Attorney General
12                                         Alabama Bar. No. 4666N91P
                                           Anne.Gunter@asc.alabama.gov
13

14                                         Attorneys for Plaintiff
                                           ALABAMA SECURITIES COMMISSION
15
                                           445 Dexter Avenue, Suite 12000
16                                         Montgomery, AL 36104
                                           Telephone: (334) 242-2984
17
                                           Facsimile: (334) 242-0240
18

19
                                           FOR THE STATE OF ARIZONA
20
                                           By: /s/ Christopher Nichols
21

22                                         CHRISTOPHER NICHOLS, pro hac vice
                                           pending
23
                                           Enforcement Attorney
24                                         Arizona Bar No. 029958
                                           cnichols@azcc.gov
25

26                                         Attorney for Plaintiff
27
                                           ARIZONA CORPORATION COMMISSION
                                           1300 W. Washington Street, 3rd Floor
28                                         Phoenix, AZ 85007
                                              - 26 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 27 of 38 Page ID #:27




 1
                                           Telephone: (605) 542-0639
                                           Facsimile: (602) 714-8120
 2

 3
                                           FOR THE STATE OF ARKANSAS
 4

 5                                         By: /s/ Joseph Joslin

 6                                         JOSEPH JOSLIN, pro hac vice pending
 7                                         Arkansas Bar No. 2014190
                                           Joseph.Joslin@arkansas.gov
 8
 9                                         Attorney for Plaintiff
                                           ARKANSAS SECURITIES DEPARTMENT
10                                         1 Commerce Way, Suite 402
11                                         Little Rock, AR 72202
                                           Telephone: (501) 683-0806
12                                         Facsimile: (501) 324-9268
13

14                                         FOR THE STATE OF CALIFORNIA
15
                                           By: /s/ Kelly Suk
16

17                                         DANIELLE A. STOUMBOS
                                           California Bar No. 264784
18                                         Danielle.Stoumbos@dfpi.ca.gov
19
                                           KELLY SUK
20                                         California Bar No. 301757
21                                         Kelly.Suk@dfpi.ca.gov
22                                         Attorneys for Plaintiff
23                                         CALIFORNIA DEPARTMENT OF
                                           FINANCIAL PROTECTION &
24                                         INNOVATION
25                                         320 West Fourth Street, Suite 750
                                           Los Angeles, California 90013
26                                         Telephone: (213) 503-2046
27                                         Facsimile: (213) 576-7181
28
                                              - 27 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 28 of 38 Page ID #:28




 1
                                           FOR THE STATE OF CONNECTICUT

 2                                         By: /s/ James W. Caley
 3
                                           JAMES W. CALEY, pro hac vice pending
 4                                         Assistant Attorney General
 5                                         Connecticut Bar No. 430246
                                           james.caley@ct.gov
 6

 7                                         Attorney for Plaintiff
                                           STATE OF CONNECTICUT DEPARTMENT
 8                                         OF BANKING
 9                                         260 Constitution Plaza
                                           Hartford, CT 06103-1800
10                                         Telephone: (860) 808-5461
11                                         Facsimile: (860) 808-5387

12

13                                         FOR THE STATE OF FLORIDA

14                                         By: /s/ George C. Bedell III
15
                                           GEORGE C. BEDELL III, pro hac vice
16                                         pending
17                                         Chief Counsel
                                           Florida Bar No. 363685
18                                         George.Bedell@flofr.gov
19
                                           Attorney for Plaintiff
20                                         FLORIDA OFFICE OF FINANCIAL
21                                         REGULATION
                                           200 East Gaines Street
22                                         Tallahassee, FL 32399-0370
23                                         Telephone: (813) 218-5353
                                           Facsimile: (813) 272-2498
24

25
                                           FOR THE STATE OF HAWAII
26

27                                         By: /s/ Rayni M. Nakamura-Watanabe
28
                                              - 28 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 29 of 38 Page ID #:29




 1
                                           RAYNI M. NAKAMURA-WATANABE, pro
                                           hac vice pending
 2                                         Acting Supervising Attorney
 3                                         Hawaii Bar No. 9032-0
                                           rnakamur@dcca.hawaii.gov
 4

 5                                         Attorney for Plaintiff
                                           STATE OF HAWAII, DEPARTMENT OF
 6                                         COMMERCE AND CONSUMER AFFAIRS
 7                                         335 Merchant Street, Room 205
                                           Honolulu, HI 96813
 8                                         Telephone: (808) 586-2740
 9                                         Facsimile: (808) 586-3977

10

11                                         FOR THE STATE OF IDAHO

12                                         OFFICE OF THE ATTORNEY GENERAL
13                                         STATE OF IDAHO
                                           LAWRENCE G. WASDEN
14

15                                         By: /s/ Loren Messerly
16                                         LOREN MESSERLY, pro hac vice pending
17                                         Deputy Attorney General
                                           Idaho Bar No. 7434
18                                         loren.messerly@finance.idaho.gov
19
                                           Attorney for Plaintiff
20                                         STATE OF IDAHO, DEPARTMENT OF
21                                         FINANCE
                                           P.O. Box 83720
22                                         Boise, ID 83720-0031
23                                         Telephone: (208) 332-8093
                                           Facsimile: (208) 332-8099
24

25
                                           FOR THE STATE OF ILLINOIS
26

27                                         By:___________________
28                                         PAULA K. BOULDON, pro hac vice pending
                                              - 29 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 30 of 38 Page ID #:30




 1
                                           Special Assistant Attorney General
                                           Illinois Bar No. 6198150
 2                                         PBouldon@ILSOS.gov
 3
                                           Attorney for Plaintiff
 4                                         OFFICE OF THE SECRETARY OF STATE,
 5                                         ILLINOIS SECURITIES DEPARTMENT
                                           69 W. Washington St., Suite 1220
 6                                         Chicago, IL 60602
 7                                         Telephone: (312) 793-3164
                                           Facsimile: (312) 793-1202
 8
 9
                                           FOR THE STATE OF INDIANA
10

11                                         By: /s/ Jefferson S. Garn_______

12                                         JEFFERSON S. GARN, pro hac vice pending
13                                         Deputy Attorney General
                                           Indiana Bar No. 29921-49
14                                         Jefferson.Garn@atg.in.gov
15
                                           Attorney for Plaintiff
16                                         INDIANA SECURITIES DIVISION
17                                         302 W. Washington St.
                                           IGCS—5th Floor
18                                         Indianapolis, IN 46204
19                                         Telephone: (317) 234-7119
                                           Facsimile: (317) 232-7979
20

21
                                           FOR THE STATE OF KENTUCKY
22

23                                         By: /s/ Gary A. Stephens
24                                         GARY A. STEPHENS, pro hac vice pending
25                                         Assistant General Counsel
                                           Kentucky Bar No. 87740
26                                         Gary.Stephens@ky.gov
27
                                           Attorney for Plaintiff
28
                                              - 30 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 31 of 38 Page ID #:31




 1
                                           KENTUCKY DEPARTMENT OF
                                           FINANCIAL INSTITUTIONS
 2                                         500 Mero St. 2SW19
 3                                         Frankfort, KY 40601
                                           Telephone: (502) 782-9046
 4                                         Facsimile: (502) 573-8787
 5

 6                                         FOR THE STATE OF MARYLAND
 7
                                           By: /s/ Max F. Brauer
 8
 9                                         MAX F. BRAUER, pro hac vice pending
                                           Assistant Attorney General
10                                         Maryland State Does Not Use Bar Numbers
11                                         mbrauer@oag.state.md.us

12                                         Attorney for Plaintiff
13                                         STATE OF MARYLAND EX REL
                                           MARYLAND SECURITIES
14                                         COMMISSIONER
15                                         200 Saint Paul Place, 25th Floor
                                           Baltimore, MD 21202
16                                         Telephone: (410) 576-6950
17                                         Facsimile: (410) 576-6532
18

19                                         FOR THE PEOPLE OF THE STATE OF
                                           MICHIGAN
20

21                                         By: /s/ Michael S. Hill
22                                         MICHAEL S. HILL, pro hac vice pending
23                                         Assistant Attorney General
                                           Michigan Bar No. P73084
24                                         HillM19@michigan.gov
25
                                           Attorney for Plaintiff
26                                         ATTORNEY GENERAL DANA NESSEL
27                                         ON BEHALF OF THE PEOPLE OF THE
                                           STATE OF MICHIGAN
28                                         P.O. Box 30736
                                              - 31 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 32 of 38 Page ID #:32




 1
                                           Lansing, MI 48909
                                           Telephone: (517) 335-7632
 2                                         Facsimile: (517) 335-6755
 3

 4                                         FOR THE STATE OF MISSISSIPPI
 5
                                           By: /s/ Seth Shannon
 6

 7                                         SETH SHANNON, pro hac vice pending
                                           Mississippi Bar No. 103466
 8                                         seth.shannon@ago.ms.gov
 9
                                           Attorney for Plaintiff
10                                         MISSISSIPPI SECRETARY OF STATE
11                                         Post Office Box 220
                                           Jackson, MS 39205
12                                         Telephone: (769) 237-6406
13                                         Facsimile: (601) 359-4231

14

15                                         FOR THE STATE OF MISSOURI

16                                         By: /s/ Steven M. Kretzer
17
                                           STEVEN M. KRETZER, pro hac vice pending
18                                         Missouri Bar No. 56950
19                                         Steven.Kretzer@sos.mo.gov
20                                         Attorney for Plaintiff
21                                         MISSOURI COMMISSIONER OF
                                           SECURITIES
22                                         600 W. Main Street
23                                         Jefferson City, MO 65102
                                           Telephone: (573) 751-4136
24                                         Facsimile: (573) 526-3124
25

26                                         FOR THE STATE OF NEBRASKA
27
                                           By: /s/ Joshua Shasserre
28
                                              - 32 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 33 of 38 Page ID #:33




 1
                                           JOSHUA SHASSERRE, pro hac vice pending
                                           Assistant Attorney General
 2                                         Nebraska Bar No. 23885
 3                                         Joshua.Shasserre@nebraska.gov

 4                                         Attorney for Plaintiff
 5                                         NEBRASKA DEPARTMENT OF BANKING
                                           & FINANCE
 6                                         2115 State Capitol
 7                                         Lincoln, NE 68509
                                           Telephone: (402) 471-2682
 8                                         Facsimile: (402) 471-3297
 9

10                                         FOR THE STATE OF NEW MEXICO
11
                                           By: /s/ Alissa N. Berger
12

13                                         ALISSA N. BERGER, pro hac vice pending
                                           New Mexico Bar No. 21769
14                                         Alissa.Berger@state.nm.us
15
                                           Attorney for Plaintiff
16                                         NEW MEXICO SECURITIES DIVISION
17                                         5500 San Antonio Drive NE
                                           Albuquerque, NM 87109
18                                         Telephone: (505) 503-5987
19                                         Facsimile: (505) 222-9848
20

21                                         FOR THE PEOPLE OF THE STATE OF
                                           NEW YORK
22

23                                         LETITIA JAMES
                                           ATTORNEY GENERAL OF THE STATE OF
24                                         NEW YORK
25
                                           By: /s/ Tatyana Trakht
26

27                                         TATYANA “TANYA” TRAKHT, pro hac
                                           vice pending
28                                         Assistant Attorney General
                                              - 33 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 34 of 38 Page ID #:34




 1
                                           New York State Does Not Use Bar Numbers
                                           Tanya.Trakht@ag.ny.gov
 2

 3                                         Attorney for Plaintiff
                                           ATTORNEY GENERAL OF THE STATE OF
 4                                         NEW YORK
 5                                         28 Liberty Street, 21st Floor
                                           New York, NY 10005
 6                                         Telephone: (212) 416-8457
 7                                         Facsimile: (212) 416-8816

 8
 9                                         FOR THE STATE OF NORTH CAROLINA

10                                         By: /s/ Sherrell Forbes
11
                                           SHERRELL FORBES, pro hac vice pending
12                                         North Carolina Bar No. 42830
13                                         sforbes@sosnc.gov

14                                         Attorney for Plaintiff
15                                         NORTH CAROLINA DEPARTMENT OF
                                           THE SECRETARY OF STATE
16                                         P.O. Box 29622
17                                         Raleigh, NC 27626
                                           Telephone: (919) 814-5532
18                                         Facsimile: (919) 814-5596
19

20                                         FOR THE STATE OF OKLAHOMA
21
                                           By: /s/ Robert Fagnant
22

23                                         ROBERT FAGNANT, pro hac vice pending
                                           Oklahoma Bar No. 30548
24                                         rfagnant@securities.ok.gov
25
                                           Attorney for Plaintiff
26                                         OKLAHOMA DEPARTMENT OF
27                                         SECURITIES
                                           204 N. Robinson Avenue, Suite 400
28                                         Oklahoma City, OK 37243
                                              - 34 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 35 of 38 Page ID #:35




 1
                                           Telephone: (405) 280-7718
                                           Facsimile: (405) 280-7742
 2

 3
                                           FOR THE STATE OF OREGON
 4

 5                                         By: /s/ Daniel J. Rice

 6                                         DANIEL J. RICE, pro hac vice pending
 7                                         Oregon Bar No. 084536
                                           Daniel.Rice@doj.state.or.us
 8
 9
                                           Attorney for Plaintiff
10                                         OREGON DEPARTMENT OF CONSUMER
11                                         AND BUSINESS SERVICES
                                           350 Winter Street NE, Room 410
12                                         Salem, OR 97309
13                                         Telephone: (503) 378-4140
                                           Facsimile: (503) 947-0088
14

15
                                           FOR THE STATE OF SOUTH CAROLINA
16

17                                         By: /s/ Jonathan Williams
18                                         JONATHAN WILLIAMS, pro hac vice
19                                         pending
                                           South Carolina Bar No. 72509
20                                         jwilliams@scag.gov
21
                                           Attorney for Plaintiff
22                                         STATE OF SOUTH CAROLINA
23                                         OFFICE OF ATTORNEY GENERAL
                                           P.O. Box 11549
24                                         Columbia, SC 29211
25                                         Telephone: (803) 734-7208
                                           Facsimile: (803) 734-7208
26

27
                                           FOR THE STATE OF SOUTH DAKOTA
28
                                              - 35 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 36 of 38 Page ID #:36




 1
                                           By: /s/ Clayton Grueb

 2                                         CLAYTON GRUEB, pro hac vice pending
 3                                         South Dakota Bar No. 4642
                                           Clayton.grueb@state.sd.us
 4

 5                                         Attorney for Plaintiff
                                           STATE OF SOUTH DAKOTA
 6                                         DEPARTMENT OF LABOR &
 7                                         REGULATION
                                           2330 N. Maple Ave. Suite 2
 8                                         Rapid City, SD 57701
 9                                         Telephone: (605) 773-3563
                                           Facsimile: (605) 773-5369
10

11
                                           FOR THE STATE OF TENNESSEE
12                                         HERBERT H. SLATERY III
13                                         Attorney General and Reporter
                                           for the State of Tennessee
14

15                                         By: /s/ Kevin M. Kreutz
16                                         KEVIN M. KREUTZ
17                                         Acting Assistant Attorney General
                                           California Bar No. 264654
18                                         Kevin.Kreutz@ag.tn.gov
19
                                           Attorney for Plaintiff
20                                         Commissioner of the Tennessee Department of
21                                         Commerce and Insurance
                                           Office of Tennessee Attorney General
22                                         Financial Division
23                                         P.O. Box 20207
                                           Nashville, TN 37202-0207
24                                         Telephone: (615) 253-0694
25                                         Facsimile: (615) 741-8151
26

27                                         FOR THE STATE OF VERMONT
28                                         By: /s/ Jennifer Rood
                                              - 36 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 37 of 38 Page ID #:37




 1
                                           JENNIFER ROOD, pro hac vice pending
 2                                         Assistant General Counsel
 3                                         Vermont Bar No. 5515
                                           Jennifer.Rood@vermont.gov
 4

 5                                         Attorney for Plaintiff
                                           VERMONT DEPARTMENT OF
 6                                         FINANCIAL REGULATION
 7                                         89 Main Street
                                           Montpelier, VT 05620
 8                                         Telephone: (877) 550-3907
 9                                         Facsimile: (802) 828-1919

10

11                                         FOR THE STATE OF WASHINGTON

12                                         By: /s/ Stephen S. Manning
13
                                           STEPHEN S. MANNING, pro hac vice
14                                         pending
15                                         Washington Bar No. 36965
                                           Stephen.Manning@atg.wa.gov
16

17                                         Attorney for Plaintiff
                                           WASHINGTON STATE DEPARTMENT OF
18                                         FINANCIAL INSTITUTIONS, SECURITIES
19                                         DIVISION
                                           150 Israel Rd. SW
20                                         Tumwater, WA 98501
21                                         Telephone: (360) 902-8700
                                           Facsimile: (360) 902-0524
22

23
                                           FOR THE STATE OF WISCONSIN
24                                         JOSHUA L. KAUL
25                                         Attorney General
                                           Wisconsin Department of Justice
26

27                                         By: /s/ Laura E. McFarlane
28                                         Laura E. McFarlane, pro hac vice pending
                                              - 37 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 1 Filed 02/01/22 Page 38 of 38 Page ID #:38




 1
                                           WI State Bar No. 1089358
                                           mcfarlanele@doj.state.wi.us
 2

 3                                         Attorney for Plaintiff
                                           THE STATE OF WISCONSIN
 4                                         Post Office Box 7857
 5                                         Madison, WI 53707-7857
                                           Telephone: (608) 266-8911
 6                                         Facsimile: (608) 267-2779
 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              - 38 -
     COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF
